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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Bentoli, Inc.



    2. All other names debtor used                Bentoli Agrinutrition, Inc.
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   6      5 – 0    4   6    5   4    9   3
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   116 Hoxie St
                                                   Number          Street                                      Number        Street

                                                   Coupland, TX 78615-5035
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Williamson                                                  place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     bentoli.com



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Bentoli, Inc.                                                                                    Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    4     9   2   9

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ A plan is being filed with this petition.
                                                      ❑
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Bentoli, Inc.                                                                              Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ✔ $500,001-$1 million
                                       ❑                                     ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
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Debtor        Bentoli, Inc.                                                                                    Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     10/01/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ John Robinson                                                  Printed name
                                                                                                                                       John Robinson
                                                   Signature of authorized representative of debtor


                                                   Title                              CEO



         18. Signature of attorney
                                               ✘                       /s/ Ronald Smeberg                           Date      10/01/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Ronald Smeberg
                                                   Printed name

                                                    The Smeberg Law Firm
                                                   Firm name

                                                    4 Imperial Oaks
                                                   Number          Street


                                                    San Antonio                                                        TX              78248-1609
                                                   City                                                               State            ZIP Code



                                                    (210) 695-6684                                                      ron@smeberg.com
                                                   Contact phone                                                       Email address



                                                    24033967                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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           __________________________________________________________________



                                   Bentoli, Incorporated




           __________________________________________________________________




                    Unanimous Written Consent of the Board of Directors




           __________________________________________________________________
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  Pursuant to the provisions of the Florida Business Corporation Act and Bylaws (the “Bylaws”) of Bentoli,
                                                              29th day of September 2023; the undersigned,
  Inc., a Florida Corporation, (the “Corporation”), on this _____
  being all of the members of the Board of Directors of the Corporation (the “Board”), do hereby waive any
  formal notice of a meeting and unanimously consent that when the undersigned have executed this consent
  or a counterpart hereof, the resolutions set forth below (collectively, the “Resolutions”) shall be deemed to
  have been adopted to the same extent, and to have the same force and effect, as if adopted at a formal
  meeting of the Board, duly called and held for the purpose of acting upon proposals to adopt such
  resolutions pursuant to the second paragraph of Section 4 of Article II of the Bylaws:

                                                 ARTICLE I.
                                                  Recitals

  Commencement of Subchapter V Bankruptcy Case

  WHEREAS, the Board has determined that it is in the best interests of the Corporation and its shareholders
  to authorize and empower management of the Corporation to file a Chapter 11 bankruptcy proceeding on
  behalf of the Corporation; and

  WHEREAS, the Board desires to authorize the Corporation’s Interim CEO, John Robinson (“J.
  Robinson”), to retain all necessary professionals and to execute all documents reasonable and necessary in
  his business judgment to place the Corporation in a Sub-Chapter V bankruptcy (the “Bankruptcy Case”)
  with the United States Bankruptcy Court for the Western District of Texas, Austin Division (the
  “Bankruptcy Court”), to fulfill all the Corporation’s obligations under chapter 11 of title 11 of the United
  States Code (the “Bankruptcy Code”), to pursue and defend all of the Corporation’s interests during and
  related to the Bankruptcy Case, to obtain plan confirmation, and to prosecute litigation on behalf of the
  Corporation; and

  Secured Loan

  WHEREAS, the Board previously approved (i) entering into a loan from William A. Robinson, Sr.
  (“Robinson Sr.” or the “Original Lender”) in the original maximum principal amount of up to $200,000
  (as subsequently increased to $250,000) (the “Loan”), and (ii) pledging certain collateral to secure such
  loan, as evidenced by, among other things, a UCC filing and a deposit account control agreement
  (collectively, the “Collateral”); and

  WHEREAS, the proceeds of the Loan are to be used to fund certain expenses by and on behalf of the
  Corporation and also to reimburse the Original Lender for certain fees, costs and expenses pursuant to the
  terms of the Loan; and

  WHEREAS, the Original Lender assigned all of its interest in the Loan to Liminality Ventures LLC, a
  Texas limited liability company (the “New Lender”), an entity owned and controlled by J. Robinson, and
  the New Lender (a) agreed to increase the availability under the Loan to $400,000 (the “Amended Loan”),
  and (b) required that (i) the Corporation pledge to New Lender a security interest in the Corporation’s
  registered trademarks and (ii) Robinson, Sr. pledge his shares in the Corporation as additional security for
  the Amended Loan (collectively, and along with the Collateral, the “Collateral Package”); and

  WHEREAS, the New Lender has (x) consented to the use of its “cash collateral” (as defined in the
  Bankruptcy Code) in the Bankruptcy Case, and (y) agreed to provide post-petition financing in connection
  with the Bankruptcy Case (the “DIP Loan”) to enable the Corporation to successfully reorganize, as
  summarized in the DIP Term Sheet attached hereto as Exhibit A (as it may be amended or modified
  consistent with the authority set forth herein, the “DIP Term Sheet”); and


                                                       2
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  WHEREAS, the terms and provisions of the DIP Term Sheet are intended to be set forth in appropriate
  filings with the Bankruptcy Court (the “DIP Pleadings”) and, to the extent of any inconsistency between
  the DIP Term Sheet and the DIP Pleadings, the DIP Pleadings shall control; and

  The Plan

  WHEREAS, the Corporation has developed a plan of reorganization for the Bankruptcy Case (the “Plan”)
  in consultation with its advisors; and

  WHEREAS, the summary of the salient terms of the Plan are set forth in the Plan Term Sheet attached
  hereto as Exhibit B (the “Plan Term Sheet”) pursuant to which, among other things, the Corporation will
  seek confirmation of the Plan (as it may be amended or modified consistent with the authority set forth
  herein); and

  WHEREAS, a feature of the Plan is that the New Lender may elect to convert a portion of the DIP Loan
  and/or the Amended Loan into up to one hundred percent of the equity of the Corporation pursuant to the
  terms and conditions of the Plan (the “Equity Conversion Feature”); and

  Advisory Firms

  WHEREAS, the Corporation retained the law firm of Berger Singerman LLP to serve as Florida-based
  counsel to advise the Corporation in connection with various corporate governance matters and to advise
  the Corporation in connection with the Loan, the Amended Loan, the Collateral and the Collateral Package,
  so that the Corporation would and will receive independent counsel in connection with related party
  transactions; and

  WHEREAS, Robinson Sr. has at all times been represented by Holland & Knight, LLP (“H&K”) in
  connection with his interests, including with respect to the Corporation and the Original Loan; and

  WHEREAS, H&K represented the Corporation in connection with certain litigation in Travis County,
  Texas commenced by Alex Palencia and consulted with the Corporation regarding various matters unrelated
  to the Bankruptcy Case (the “Prior Matters”); and

  WHEREAS, H&K will continue to represent Robinson Sr. on various matters and J. Robinson solely in his
  capacity as the New Lender and is hereby immediately withdrawing from the Prior Matters as set forth in
  an amended engagement letter pursuant to which the Corporation will expressly waive any conflicts of
  interest;

  NOW, THEREFORE, the Board resolves as follows:

                                               ARTICLE II.
                                                Resolutions

      1. RESOLVED, that J. Robinson be and hereby is authorized to retain all necessary professionals and
         execute all documents reasonable and necessary in his business judgement to:

              a. commence the Bankruptcy Case in the Bankruptcy Court on behalf of the Corporation;
              b. fulfill all of the Corporation’s obligations in the Bankruptcy Case;
              c. pursue and defend all of the Corporation’s interests during and related to the Bankruptcy
                 Case;


                                                     3
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             d. obtain confirmation of the Plan; and
             e. Prosecute and defend all litigation on behalf of the Corporation in any jurisdiction
                including, but not limited to those arising under the Bankruptcy Code; and it is further

     2. RESOLVED, that J. Robinson be and hereby is authorized on behalf of the Corporation to retain
        the Smeberg Law Firm, PLLC to take all actions in the Chapter 11 bankruptcy it deems reasonable
        and necessary to protect the Corporation’s interests in accordance with the retainer agreement
        executed for that purpose and as directed by the Corporation’s CEO; and it is further

     3. RESOLVED, that J. Robinson be and hereby is authorized to retain and employ (i) BDF Law Group
        as special litigation counsel and in connection with the state court suit brought by Palencia; (ii)
        HMP Advisory Holdings, LLC, d/b/a Harney Partners, as financial advisors; and (iii) other
        professionals as needed, in addition to the Smeberg Law Firm, PLLC as general bankruptcy counsel
        (collectively, the “Restructuring Professionals”); and in connection with the retention of the
        Restructuring Professionals, authorizes and directs J. Robinson to execute retention agreements,
        pay retainers, prior to, immediately upon and after the filing of the Bankruptcy Case, and to cause
        to be filed an application for authority to retain the services of the Restructuring Professionals; and
        it is further

     4. RESOLVED that J. Robinson (the “Authorized Person”) be, and hereby is, authorized, empowered
        and directed for and on behalf of the Corporation, to execute and deliver on behalf of the
        Corporation such other documents, to take, or cause to be taken, such further action for and on
        behalf of the Corporation as such Authorized Person shall deem necessary or appropriate to enable
        the Corporation to perform its obligations and exercise its rights under Chapter 11 and otherwise
        to carry out the intent and purpose of the foregoing resolutions and the transactions contemplated
        thereby; and it is further

     5. RESOLVED, that any and all actions heretofore taken, and any and all things theretofore done, by
        J. Robinson or other representatives of the Corporation in connection with, or with respect to, the
        matters referred to in the foregoing resolutions be, and they hereby are, confirmed, ratified and
        approved as authorized and valid acts taken on behalf of the Corporation; and it is further

     6. RESOLVED, that J. Robinson be and hereby is authorized to direct the Restructuring Professionals
        to draft and file a Plan that is consistent with the Plan Term Sheet and the DIP Term Sheet, which
        are attached hereto as Exhibit A and Exhibit B, respectively; and it is further

     7. RESOLVED, that J. Robinson be and hereby is authorized to modify any debtor-in-possession loan
        or the plan of reorganization of the Corporation, provided that the economic substance thereof is
        not materially modified without further authority of the Board; and it is further

     8. RESOLVED, that the Board hereby expressly waives any and all actual or potential conflicts of
        interest in connection with any and all actions by (a) Robinson Sr. in his capacities as (i) majority
        shareholder of the Corporation, (ii) member of the Board, (iii) unsecured creditor of the
        Corporation, and (iv) Lender, or otherwise, and (b) J. Robinson in his capacities as (1) Interim
        CEO, (2) serving as an agent on behalf of Robinson Sr., (3) principal of the New Lender, (4) the
        Authorized Person, (5) providing the DIP Loan, (6) creditor of the Corporation (in his own capacity
        and on behalf of any entities that he owns or controls), and (7) taking the actions necessary to
        implement the Plan, or otherwise. The Board acknowledges and confirms full disclosure of all
        relevant facts by Robinson Sr, and J. Robinson, and that all actions taken by such individuals have
        benefitted the Corporation and its shareholders; and it is further



                                                       4
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                 9. RESOLVED, that these resolutions and actions shall be the actions of the Board of Directors of the
                    Corporation, and the Secretary or any Assistant Secretary of the Corporation is hereby directed to
                    place this Written Consent of the Board of Directors with the records of the proceedings of the
                    Board of Directors of the Corporation; and it is further

                 10. RESOLVED, that this Written Consent may be signed in counterparts, each of which shall be
                     deemed an original, which taken together shall constitute one and the same instrument.

             IN WITNESS WHEREOF, the Board of Directors of Bentoli, Incorporated have executed this Written
                         29th day of September, 2023.
             Consent the _____


             Board of Directors


             BY: ____________________________
             William A. Robinson, Sr., Director


             BY: ____________________________
             William A. Robinson, Jr., Director




                                                                5
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 Fill in this information to identify the case:

 Debtor name                                      Bentoli, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Alexander Palencia                                                      Litigation              Contingent                                                  $750,000.00
      8950 Sw 75th St # 1605                                                                          Disputed
      Miami, FL 33173-3439                                                                            Unliquidated



2     Frank A. Maresma                                                        Litigation              Contingent                                                  $665,000.00
      6750 Sw 73rd Ct                                                                                 Disputed
      Miami, FL 33143-2923                                                                            Unliquidated



3




4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       Bentoli, Inc.                                                                                    Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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 Fill in this information to identify the case:

  Debtor Name       Bentoli, Inc.

  United States Bankruptcy Court for the:                Western             District of       Texas
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Seacoast National Bank                               Checking account                        1    7    7    9                                 $211.95

         3.2. Independent Bank                                     Checking account                        9    9    6    5                               $4,482.47

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                         $4,694.42
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    116 Hoxie LLC                                                                                                                             $9,147.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
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Debtor           Bentoli, Inc.                                                                            Case number (if known)
                 Name




 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1     OSPREY Biotech                                                                                                                        $1,882.91

         8.2     Harney Partners (retainer funds as of September 29, 2023)                                                                             $9,550.00

         8.3     BDFTE, LLP (retainer funds as of September 29, 2023)                                                                                  $5,640.00

         8.4     Smeberg Law Firm, PLLC (retainer funds as of September 29, 2023)                                                                      $8,690.00


 9.      Total of Part 2
                                                                                                                                                    $34,909.91
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:        Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:           $540,004.77              -                $35,507.34                     ➔
                                                                                                                 =.....                              $504,497.43
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:              $340,340.41              -                $340,340.41                    ➔
                                                                                                                 =.....                                       $0.00
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
                                                                                                                                                   $504,497.43
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:        Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
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Debtor          Bentoli, Inc.                                                                      Case number (if known)
                Name




 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.

   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of      Valuation method used    Current value of
                                                               physical inventory   debtor's interest      for current value        debtor’s interest

                                                                                    (Where available)

 19.     Raw materials

         Input ingredients and packaging                           06/30/2023                $77,740.00    Landed Cost Basis                     $77,740.00
                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale

         Livestock feed and supplements available                                                          Raw Material, Freight,
         for sale to customers                                     06/30/2023                $75,430.00    Labor                                 $75,430.00
                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                              $153,170.00
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 3
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Debtor         Bentoli, Inc.                                                                      Case number (if known)
              Name




 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
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Debtor          Bentoli, Inc.                                                                        Case number (if known)
                Name




         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest

                                                                                      (Where available)

 39.     Office furniture

         6 desks and chairs, 10 filing cabinets, 2 printers, 1 water
         dispenser, 3 desktop computers, 3 laptop computers, 1
         reception sofa and chair, 1 coffee room table, 5 chairs                                 unknown                                          $2,000.00


 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         Lab equipment                                                                           unknown    Cost                                 $13,792.00

         Warehouse equipment                                                                     unknown    Cost                                  $7,090.00


 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                               $22,882.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 2016 Volkswagen Golf                                                              $3,500.00   Kelly Blue Book                       $3,500.00


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 5
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Debtor          Bentoli, Inc.                                                                         Case number (if known)
                Name




         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
                                                                                                                                                   $3,500.00
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 Commercial lease at 116 Hoxie Street             Lease                             unknown                                             unknown
              / 116 Hoxie St Coupland, TX 78615-5035


 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:         Intangibles and intellectual property




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                    page 6
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Debtor         Bentoli, Inc.                                                                          Case number (if known)
              Name




 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets

         See list of registered trademarks                                                        unknown                                             unknown


 61.     Internet domain names and websites

         bentoli.com                                                                              unknown                                             unknown


 62.     Licenses, franchises, and royalties

         License agreements with Thailand and India affiliates                                    unknown                                             unknown


 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property

         Product formulations                                                                     unknown                                             unknown


 65.     Goodwill




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
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Debtor         Bentoli, Inc.                                                                        Case number (if known)
               Name




 71.     Notes receivable

         Description (include name of obligor)

                                                                                   –                                         =   ➔
                                                               Total face amount       doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

         Net Operation Loss of $496,732                                                               Tax year       2021            unknown

         $1,335,415 Capital Loss Carry Forward                                                        Tax year       2021            unknown

         Section 1231 Available for Recapture $288,953                                                Tax year       2021            unknown

         NOL/Capital Loss Carry Forward/Recapture                                                     Tax year       2022            unknown


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)

         Potential Claims against Frank Maresma and Sana Care, including but not limited to, fraudulent transfer, usury,
         preference, self dealing, theft, fraud, unjust enrichment, and breach of fiduciary duty.                                    unknown

         Nature of claim

         Amount requested                        unknown

         Potential Claims against Alexander Palencia, and Divendi Americas, Inc., including but not limited to, fraudulent
         transfer, usury, preference, self dealing, theft, fraud, unjust enrichment, and breach of fiduciary duty.                   unknown

         Nature of claim

         Amount requested                        unknown


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                              page 8
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Debtor           Bentoli, Inc.                                                                                                       Case number (if known)
                Name




 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                        $4,694.42

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                          $34,909.91

 82.     Accounts receivable. Copy line 12, Part 3.                                                                             $504,497.43

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                       $153,170.00

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                 $22,882.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $3,500.00


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                          unknown


 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                             unknown

 90.     All other assets. Copy line 78, Part 11.                                                           +                      unknown


 91.     Total. Add lines 80 through 90 for each column............................91a.                                        $723,653.76      + 91b.

 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $723,653.76




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                             page 9
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                                  Schedule A/B Part 10



                 Mark           Registration   Registration   Owner
                                Number         Date

                 SEMALEX        5289183        9/19/2017      Bentoli, Inc.

                 FLAMOTIN       5289182        9/19/2017      Bentoli, Inc.

                 SACROCELL      5289161        9/19/2017      Bentoli, Inc.

                 AQUASAVOR      5274619        8/29/2017      Bentoli, Inc.

                 AMONEX         5254648        8/1/2017       Bentoli, Inc.

                 PEGAZYME       5213186        5/30/2017      Bentoli, Inc.

                 RUMICELL       5199889        5/9/2017       Bentoli, Inc.

                 KANIMAX        5199839        5/9/2017       Bentoli, Inc.

                 EFINOL         5199755        5/9/2017       Bentoli, Inc.

                 FIXAR          3200943        1/23/2007      Bentoli, Inc.

                 PROKURA        3063176        2/28/2006      Bentoli, Inc.

                 PEGABIND       3073206        3/28/2006      Bentoli, Inc.

                 BENTOLI        3063038        2/28/2006      Bentoli, Inc.
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 Fill in this information to identify the case:

     Debtor name     Bentoli, Inc.

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $322,160.65              unknown
         Liminality Ventures, LLC

        Creditor’s mailing address
         301 West Ave, Unit 4603
         Austin, TX 78601
                                                             Describe the lien
        Creditor’s email address, if known                   Claim is secured by all assets as set forth in
                                                             various security agreements and per UCC-3
                                                             filing.
        Date debt was
        incurred                                             Is the creditor an insider or related party?

        Last 4 digits of                                     ❑ No
        account                                              ✔ Yes
                                                             ❑
        number                                               Is anyone else liable on this claim?
        Do multiple creditors have an interest               ✔ No
                                                             ❑
        in the same property?                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        ✔ No
        ❑                                                    As of the petition filing date, the claim is:
        ❑ Yes. Specify each creditor, including this         Check all that apply.
                 creditor, and its relative priority.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $483,468.65
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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Debtor     Bentoli, Inc.                                                                          Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                       Column B
                                                                                                                   Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value        that supports this
 from the
                                                                                                                   of collateral.                 claim
 previous page.

2.2 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $161,308.00            unknown
      U.S. Small Business Administration

     Creditor’s mailing address
      409 3rd St, SW
      Washington, DC 20416
                                                     Describe the lien
     Creditor’s email address, if known              Claim is secured by all personal tangible and
                                                     intangible property per UCC-1 filings.

     Date debt was                                   Is the creditor an insider or related party?
     incurred                                        ✔ No
                                                     ❑
     Last 4 digits of                                ❑ Yes
     account                                         Is anyone else liable on this claim?
     number
                                                     ❑ No
     Do multiple creditors have an interest          ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                     ❑
     in the same property?
                                                     As of the petition filing date, the claim is:
     ✔ No
     ❑                                               Check all that apply.
     ❑ Yes. Have you already specified the
              relative priority?                     ❑ Contingent
         ❑ No. Specify each creditor, including      ❑ Unliquidated
               this creditor, and its relative       ❑ Disputed
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                                      Bentoli, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                   Total claim             Priority amount

2.1 Priority creditor’s name and mailing address                   As of the petition filing date, the claim is:   unknown                  unknown
                                                                   Check all that apply.
                                                                   ❑ Contingent
       INTERNAL REVENUE SERVICE

       Special Procedures - Insolvency                             ❑ Unliquidated
       P.O. BOX 21126                                              ❑ Disputed
       PHILADELPHIA, PA 19114                                      Basis for the Claim:

       Date or dates debt was incurred
                                                                   Is the claim subject to offset?
                                                                   ✔ No
                                                                   ❑
       Last 4 digits of account                                    ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
2.2 Priority creditor’s name and mailing address                   As of the petition filing date, the claim is:   unknown                  unknown
                                                                   Check all that apply.
                                                                   ❑ Contingent
       Texas Comptroller of Public Account

       Attn: Bankruptcy                                            ❑ Unliquidated
       Po Box 149359                                               ❑ Disputed
       Austin, TX 78714-9359                                       Basis for the Claim:

       Date or dates debt was incurred
                                                                   Is the claim subject to offset?
                                                                   ✔ No
                                                                   ❑
       Last 4 digits of account                                    ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 4
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Debtor        Bentoli, Inc.                                                                                   Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $750,000.00
                                                                            Check all that apply.
       Alexander Palencia
                                                                            ✔ Contingent
                                                                            ❑
       8950 Sw 75th St # 1605                                               ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Miami, FL 33173-3439
                                                                            Basis for the claim: Litigation
                                                                            Is the claim subject to offset?
                                                                            ❑ No
       Date or dates debt was incurred         2/22/2022

       Last 4 digits of account number                                      ✔ Yes
                                                                            ❑
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $703.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Edward Steve Robinson

       39/536 Sunshine, Soi Nichada                                         ❑ Unliquidated
                                                                            ❑ Disputed
       Thani, Pakkret Dst, Nonthaburri,
                                                                            Basis for the claim:
       Thailand 11120,                                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $665,000.00
                                                                            Check all that apply.
       Frank A. Maresma
                                                                            ✔ Contingent
                                                                            ❑
       6750 Sw 73rd Ct                                                      ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Miami, FL 33143-2923
                                                                            Basis for the claim: Litigation
                                                                            Is the claim subject to offset?
                                                                            ❑ No
       Date or dates debt was incurred

       Last 4 digits of account number                                      ✔ Yes
                                                                            ❑
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $353,409.00
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       John C. Robinson

       301 West Ave Unit 4603                                               ❑ Unliquidated
                                                                            ❑ Disputed
       Austin, TX 78701-4761
                                                                                                 Share purchase
                                                                            Basis for the claim: agreement
       Date or dates debt was incurred
                                                                            Is the claim subject to offset?
       Last 4 digits of account number                                      ✔ No
                                                                            ❑
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 4
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Debtor     Bentoli, Inc.                                                                               Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $45,200.00
                                                                     Check all that apply.
                                                                     ❑ Contingent
      William A. Robinson, Jr.

      168 Ridgewood Dr                                               ❑ Unliquidated
                                                                     ❑ Disputed
      Brewster, MA 02631-1044
                                                                     Basis for the claim: Shareholder Loan
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     ✔ No
                                                                     ❑
     Last 4 digits of account number                                 ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $12,341.90
                                                                     Check all that apply.
                                                                     ❑ Contingent
      William A. Robinson, Sr.

      Calle Don Ramon de la Cruz 71                                  ❑ Unliquidated
                                                                     ❑ Disputed
      Madrid, Spain 28001,
                                                                     Basis for the claim: Shareholder Loan
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     ✔ No
                                                                     ❑
     Last 4 digits of account number                                 ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 4
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Debtor       Bentoli, Inc.                                                                        Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $1,826,653.90
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $1,826,653.90
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 4 of 4
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 Fill in this information to identify the case:

 Debtor name                                      Bentoli, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                          Chapter   11                                                    ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the
                                                                                           debtor has an executory contract or unexpired lease

       State what the contract or            Office space                                   116 Hoxie, LLC
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                        116 Hoxie St
                                                                                            Coupland, TX 78615-5035
       State the term remaining              25 months

       List the contract number of
       any government contract

       State what the contract or            Inventory software subscription                Fishbowl Inventory
2.2    lease is for and the nature
       of the debtor’s interest                                                             508 Technology Ave Bldg C

       State the term remaining              0 months                                       Orem, UT 84097-6210

       List the contract number of
       any government contract

       State what the contract or            Financial software subscription                Intuit
2.3    lease is for and the nature
       of the debtor’s interest                                                             2632 Marine Way

       State the term remaining              0 months                                       Mountain View, CA 94043-1126

       List the contract number of
       any government contract

       State what the contract or            Voice Over IP services                         AT&T
2.4    lease is for and the nature
       of the debtor’s interest                                                             Po Box 5017

       State the term remaining              0 months                                       Carol Stream, IL 60197-5017

       List the contract number of
       any government contract




Official Form 206G                                          Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 2
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Debtor      Bentoli, Inc.                                                                              Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom the
                                                                                     debtor has an executory contract or unexpired lease

         State what the contract or      CRM software                                UpCurve Cloud
2.5      lease is for and the nature
         of the debtor’s interest                                                    10801 National Blvd Ste 410

         State the term remaining        0 months                                    Los Angeles, CA 90064-4143

         List the contract number of
         any government contract

         State what the contract or      Affiliate license agreement with Thailand   Bentoli Agrinutrition Co Ltd
2.6      lease is for and the nature     affiliate
         of the debtor’s interest                                                    333/52-53 Moo 6, Tambon Bangpla,Amphur Ba Samutprakarn
                                                                                     10540 THAILAND
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or      Affiliate licensing agreements with India   Bentoli Agrinutrition India Pvt. Ltd
2.7      lease is for and the nature     affiliate
         of the debtor’s interest                                                    No: 3F2, 3rd Floor, Front Block, Metro Twr

         State the term remaining        0 months                                    #115 Poonamallee High Road
                                                                                     Chennai 600084,
         List the contract number of
         any government contract

         State what the contract or      Business management software                Quickbase
2.8      lease is for and the nature
         of the debtor’s interest                                                    290 Congress St

         State the term remaining        0 months                                    Boston, MA 02210-1033

         List the contract number of
         any government contract

         State what the contract or      CRM platform services                       Hubspot
2.9      lease is for and the nature
         of the debtor’s interest                                                    2 Canal Park

         State the term remaining        0 months                                    Cambridge, MA 02141-2231

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                       page 2 of 2
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 Fill in this information to identify the case:

  Debtor name          Bentoli, Inc.


  United States Bankruptcy Court for the:                Western             District of             Texas

                                                                                                                                     ❑ Check if this is an
                                                                                           (State)
  Case number (If known):
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                  Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                                  Name
                                                                                                                                      that apply:

 2.1     Edward Steve Robinson              39/536 Sunshine                                                  Alexander Palencia       ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                             Soi Nichada Thani, Samakee Road                                                          ❑G
                                            Pakkret District, Nonthaburi, Thailand, 11120
                                            City                     State                ZIP Code

 2.2     Robinson Sr, William               Calle Don Ramon de la Cruz 71                                    Alexander Palencia       ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                            Madrid, Spain, NC 28001                                          U.S. Small Business      ✔D
                                                                                                                                      ❑
                                            City                  State                     ZIP Code
                                                                                                             Administration           ❑ E/F
                                                                                                                                      ❑G
 2.3     William A. Robinson, Jr.           168 Ridgewood Drive                                              Alexander Palencia       ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                            Brewster, MA 02613-1044
                                            City                  State                     ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                    State                   ZIP Code

 2.5                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                    State                   ZIP Code


Official Form 206H                                                    Schedule H: Codebtors                                                    page 1 of    2
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Debtor      Bentoli, Inc.                                                                 Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
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 Fill in this information to identify the case:

 Debtor name                                                    Bentoli, Inc.

 United States Bankruptcy Court for the:
                                            Western District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                             $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $723,653.76

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $723,653.76




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                        $483,468.65



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                 $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $1,826,653.90




 4. Total liabilities..............................................................................................................................................................................                    $2,310,122.55

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                                      Bentoli, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                                ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     10/01/2023
                          MM/ DD/ YYYY
                                                                              ✘ /s/ John Robinson
                                                                                  Signature of individual signing on behalf of debtor


                                                                                  John Robinson
                                                                                  Printed name


                                                                                  CEO
                                                                                  Position or relationship to debtor



Official Form B202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                                      Bentoli, Inc.

 United States Bankruptcy Court for the:
                                   Western District of Texas


 Case number (if known):                                                                                                        ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which          Sources of revenue                 Gross revenue
        may be a calendar year                                                              Check all that apply               (before deductions and
                                                                                                                               exclusions)

       From the beginning of the                                                          ✔ Operating a business
                                                                                          ❑                                                    $608,562.64
                                                                                          ❑ Other
       fiscal year to filing date:        From 07/01/2023          to    Filing date
                                                   MM/ DD/ YYYY


       For prior year:                    From 07/01/2022          to    06/30/2023       ✔ Operating a business
                                                                                          ❑                                                  $4,365,018.62
                                                   MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other

       For the year before that:          From 07/01/2021          to    06/30/2022       ✔ Operating a business
                                                                                          ❑                                                  $5,787,245.90
                                                   MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ❑ None
                                                                                          Description of sources of revenue    Gross revenue from each
                                                                                                                               source
                                                                                                                               (before deductions and
                                                                                                                               exclusions)

      From the beginning of the
      fiscal year to filing date:       From 07/01/2022           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 07/01/2021           to    06/30/2022
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY


      For the year before that:         From 07/01/2020           to    06/30/2021        PPP Loan Forgiveness                                 $139,912.50
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
Debtor
           23-10827-smr
            Bentoli, Inc.
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                                                                          Main  Document Pg 35 of 65
                                                                             number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                       Dates             Total amount or value           Reasons for payment or transfer
                                                                                                             Check all that apply

 3.1.   See Attached                                                                                         ❑ Secured debt
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
        Street

                                                                                                             ✔ Other
                                                                                                             ❑
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   William A. Robinson Jr.                                                         $11,551.45
        Creditor's name
        168 Ridgewood Dr
        Street



        Brewster, MA 02631-1044
        City                        State    ZIP Code

         Relationship to debtor

        Shareholder, Director, and Secretary

 4.2.   Nassim Hill Properties LP                                                      $25,298.94
        Creditor's name
        508 E. 53rd Street 102
        Street



        Austin, TX 78752
        City                        State    ZIP Code

         Relationship to debtor

        Affiliate of Debtor's CEO John Robinson.




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Debtor
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            Bentoli, Inc.
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                                                                             number (if known)
                 Name


 4.3.   Frank A. Maresma                                                                $76,070.45
        Creditor's name
        6750 Sw 73rd Ct
        Street



        Miami, FL 33143-2923
        City                        State    ZIP Code

         Relationship to debtor



 4.4.   Carlos Robinson Salvatierra                                                     $57,934.94          Commissions
        Creditor's name
        3701 Quick Hill Rd # 16
        Street



        Austin, TX 78728-1123
        City                        State    ZIP Code

         Relationship to debtor

        Contractor and relative of Debtor's principals

 4.5.   BMEX ANIMAL NUTRITION S DE RL DE CV                 4/7/23                      $10,000.00
        Creditor's name
        SANTA FE CUAJIMALPA, CUAJIMALPADE
        MORELO
        Street
        PROLONGACION VASCO DE QUIROGA
        4309 C201

        CIUDAD DE MEXICO, MX,
        City                        State    ZIP Code

         Relationship to debtor



 4.6.   Bentoli Agrinutrition Thailand Co. Ltd.                                         $48,320.00
        Creditor's name
        Suvarnabhumi Road, Bangpla, Bangplee
        Street
        333/52-53 Soi Project TIP 8 Moo6, Lieb Klong

        Samutprakarn 10540 Thailand,
        City                        State    ZIP Code

         Relationship to debtor



 4.7.   Bentoli Agrinutrition del Ecuador S.A.                                          $11,650.00
        Creditor's name
        Flamingo 209, 2do Piso Bldg.
        Street



        Guayaquil; Guayas, Ecuador,
        City                        State    ZIP Code

         Relationship to debtor




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy   page 3
Debtor
           23-10827-smr
            Bentoli, Inc.
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                                                                             number (if known)
                 Name


 4.8.   Sana Care                                                                       $276,023.40
        Creditor's name
        8085 Nw 68th St
        Street



        Miami, FL 33166-2794
        City                         State    ZIP Code

         Relationship to debtor

        Affiliate of Frank Maresna

 4.9.   Holland & Knight LLP                                05/15/2023                  $178,354.72
        Creditor's name
        98 San Jacinto Blvd Ste 1900                        05/16/2023
        Street
                                                            06/14/2023

        Austin, TX 78701-4238                               07/05/2023
        City                         State    ZIP Code
                                                            07/18/2023
         Relationship to debtor

        Attorney of Insider                                 08/07/2023

                                                            09/20/2023

                                                            09/27/2023

                                                            09/28/2023

 4.10. 16) Waller Lansden Dortch & Davis, LLP               12/20/2022                   $37,660.65
       Creditor's name
        100 Congress Ave Unit 1800                          01/01/2022
        Street
                                                            02/15/2023

        Austin, TX 78701
        City                         State    ZIP Code

         Relationship to debtor

        Attorney of Insider



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                         State   ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
Debtor
           23-10827-smr
            Bentoli, Inc.
                          Doc#1 Filed 10/01/23 Entered 10/01/23 19:05:06Case
                                                                          Main  Document Pg 38 of 65
                                                                             number (if known)
                 Name



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                      Date action was       Amount
                                                                                                                         taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Alexander Palencia v. Bentoli,                                                  419th District Court                                  ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        Inc. et al.                                                                     Name
                                                                                        1700 Guadalupe Fl. 11
                                                                                        Street                                                ❑ Concluded
         Case number

        D-1-GN-22-006655                                                                Austin, TX 78701
                                                                                        City                           State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                      Description of the property                           Value


        Custodian’s name
                                                           Case title                                            Court name and address
        Street
                                                                                                                Name

                                                           Case number                                          Street
        City                        State     ZIP Code



                                                           Date of order or assignment                          City                         State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ❑ None

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                                                                              number (if known)
                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value

         Cuero Livestock Show                                                                                        5/23/2023                         $1,500.00
         Recipient’s name
         208 Hucheson                                                                                                2/25/2022
         Street



         Cuero, TX
         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         The Smeberg Law Firm PLLC                              Bankruptcy retainer                                       08/31/2023                   $15,000.00


          Address                                               Bankruptcy retainer                                       09/26/2023                   $17,000.00

         4 Imperial Oaks
         Street


         San Antonio, TX 78248-1609
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?




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                  Name

 11.2.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Harney Partners                                                                                                07/05/2023                    $5,000.00


          Address                                                                                                       08/18/2023                    $4,350.00

         8911 N Capital of Texas Hwy Ste 2120                                                                           09/28/2023                   $19,750.00
         Street


         Austin, TX 78759-7200
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 11.3.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         BDFTE, LLP                                            Retainer                                                 09/29/2023                   $20,000.00


          Address

         4004 Belt Line Rd 100
         Street


         Addison, TX
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




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                Name



 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                          Description of property transferred or payments           Date transfer     Total amount or
                                                              received or debts paid in exchange                        was made          value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                           Dates of occupancy

 14.1. 15908 E Us Highway 290                                                                              From    January 2010     To August 2022
       Street



         Elgin, TX 78621-4156
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




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                  Name

          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                          Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State     ZIP Code                                                                              Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

 18.1 Banesco USA                                           XXXX– 6 9 1 4               ✔ Checking
                                                                                        ❑                            9/25/2023                $1,686.46
                                                                                        ❑ Savings
      Name
         150 Alhambra Cir Ste 100
         Street                                                                         ❑ Money market
                                                                                        ❑ Brokerage
         Coral Gables, FL 33134-4523                                                    ❑ Other
         City                       State   ZIP Code




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                  Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔ None
         ❑
 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.




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               Name
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                 Street
                                                                                                                                                 ❑ Concluded


                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice


      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice


      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




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                 Name

          Business name and address                 Describe the nature of the business                       Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
 25.1.
                                                                                                             EIN:          –
         Name
                                                                                                              Dates business existed
         Street
                                                                                                             From                 To



         City                State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                    Dates of service

 26a.1. Viteri Financial Services                                                                             From 1/2000          To 01/2019
          Name
          6721 Sw 69th Ter
          Street



          South Miami, FL 33143-3134
          City                                          State                  ZIP Code

           Name and address                                                                                    Dates of service

 26a.2. Viteri Financial Services                                                                             From 5/2022          To Present
          Name
          6721 SW 69th Terrace
          Street



          Miami, FL 33143-3134
          City                                          State                  ZIP Code

           Name and address                                                                                    Dates of service

 26a.3. Scott G. Sommerstein, CPA                                                                             From 5/19            To 5/2022
          Name
          9611 Memorial Road
          Street



          Miami, FL 33157
          City                                          State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                    Dates of service

 26b.1.
                                                                                                              From                 To
          Name


          Street




          City                                          State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
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                                                                               number (if known)
                  Name

            Name and address                                                                                     If any books of account and records are
                                                                                                                 unavailable, explain why
 26c.1.
           Viteri Financial Services
           Name
           6721 Sw 69th Ter
           Street



           South Miami, FL 33143-3134
           City                                            State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                            State                  ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ❑ No
        ✔ Yes. Give the details about the two most recent inventories.
        ❑
           Name of the person who supervised the taking of the inventory                         Date of          The dollar amount and basis (cost, market, or
                                                                                                 inventory        other basis) of each inventory

          Chinnaraj Vellingiri                                                                  09/26/2023                                              $77,739.30


           Name and address of the person who has possession of inventory records

 27.1. Bobby Raymond
          Name
          116 Hoxie St
          Street



          Coupland, TX 78615
          City                                     State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                          Address                                                       Position and nature of any          % of interest, if any
                                                                                                       interest

        William Robinson, Sr.           Calle Don Ramon de la Cruz 71 Madrid, Spain,                  Shareholder, Director, President,                 97.00%
                                        NC 28001

        William A. Robinson, Jr.        168 Ridgewood Dr Brewster, MA 02631-1044                      Shareholder, Director, Secretary,                    1.00%

        John Robinson                   301 West Ave Unit 4603 Austin, TX 78701-4761                  CEO, Treasurer,                                      0.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
        ❑ No
        ✔ Yes. Identify below.
        ❑



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             Name

         Name                           Address                                                   Position and nature of any          Period during which
                                                                                                  interest                            position or interest was
                                                                                                                                      held

      Frank A. Maresma                6750 Sw 73rd Ct Miami, FL 33143-2923                       Treasurer,                            From
                                                                                                                                       To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description            Dates                   Reason for providing
                                                                            and value of property                                             the value


 30.1. Carlos Robinson Salvatierra                                                                      $5,757.41    11/04/2022            Commissions
      Name
                                                                                                        $5,000.00    12/01/2022
      3701 Quick Hill Rd Apt 16301
      Street
                                                                                                       $10,766.54    1/30/2023

                                                                                                        $1,410.99    2/16/2023
      Austin, TX 78728-1304
      City                                     State        ZIP Code                                    $2,500.00    4/7/2023

         Relationship to debtor                                                                         $2,500.00    4/17/2023

                                                                                                        $2,500.00    4/24/2023
      Contractor and relative of Debtor's principals.

                                                                                                        $2,500.00    4/28/2023

                                                                                                        $2,500.00    5/11/2023

                                                                                                        $2,500.00    5/26/2023

                                                                                                        $2,500.00    6/8/2023

                                                                                                        $2,500.00    6/23/2023

                                                                                                        $2,500.00    7/6/2023

                                                                                                        $2,500.00    7/21/2023

                                                                                                        $2,500.00    8/4/2023

                                                                                                        $2,500.00    8/18/2023

                                                                                                        $2,500.00    9/1/203

                                                                                                        $2,500.00    9/26/2023
         Name and address of recipient                                      Amount of money or description            Dates                   Reason for providing
                                                                            and value of property                                             the value


 30.2. William A. Robinson, Jr.                                                                        $11,551.45                          Wages
      Name
      168 Ridgewood Dr
      Street



      Brewster, MA 02631-1044
      City                                     State        ZIP Code


         Relationship to debtor

      Shareholder, Director, and Secretary

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑

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            Name

      ❑ Yes. Identify below.
           Name of the parent corporation                                                            Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          10/01/2023
                     MM/ DD/ YYYY




    ✘ /s/ John Robinson                                                  Printed name                      John Robinson
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor                 CEO




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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SOFA #3

90D                                  (Multiple Items)

Row Labels                           Sum of Credit
  116 Hoxie.LLC                                33,948.00
     6/30/2023                                  8,487.00
     7/27/2023                                  8,487.00
     9/1/2023                                   8,487.00
     9/26/2023                                  8,487.00
  American Express - 1005                      10,083.96
     7/6/2023                                   1,338.87
     8/4/2023                                   2,083.12
     9/1/2023                                   2,083.12
     9/18/2023                                  4,578.85
  Animix, LLC                                183,623.63
     6/30/2023                                 14,282.15
     7/17/2023                                 10,000.00
     7/21/2023                                 10,000.00
     7/27/2023                                 18,351.76
     8/4/2023                                  49,955.03
     9/8/2023                                  10,000.00
     9/26/2023                                 71,034.69
  BDFTE, LLP                                   20,000.00
     9/29/2023                                 20,000.00
  Berger Singerman                             50,330.02
     7/26/2023                                 26,638.90
     9/28/2023                                 23,691.12
  Fleischmann's/AB Mauri                        8,880.00
     7/6/2023                                   5,920.00
     8/11/2023                                  2,960.00
  Genesis Custom Chemical Blending             39,688.00
     8/4/2023                                  10,824.00
     9/26/2023                                 28,864.00
  Harney Partners                              29,100.00
     7/5/2023                                   5,000.00
     8/18/2023                                  4,350.00
     9/28/2023                                 19,750.00
  MTS Logistics                                10,330.00
     6/30/2023                                  3,570.00
     8/25/2023                                  6,760.00
  SAIA Motor Freight Line, Inc.                13,570.55
     7/6/2023                                   2,515.68
     7/17/2023                                    586.42
     7/21/2023                                    203.61
     7/27/2023                                    887.30
     8/4/2023                                   1,585.90
     8/18/2023                                  2,757.46
     9/1/2023                                     460.47
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    9/8/2023                              722.11
    9/26/2023                           3,851.60
  The Smeberg Law Firm, PLLC           32,000.00
    8/31/2023                          15,000.00
    9/26/2023                          17,000.00
  TMD Oilfield Technology              49,901.25
    7/17/2023                          11,560.00
    7/21/2023                           7,701.75
    7/27/2023                          12,596.75
    8/11/2023                           4,091.75
    9/26/2023                           1,444.00
    9/28/2023
    9/29/2023                          12,507.00
  Wego Chemical Group                   8,200.00
    7/27/2023                           8,200.00
Grand Total                           489,655.41
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                        WESTERN DISTRICT OF TEXAS
                                                              AUSTIN DIVISION

IN RE: Bentoli, Inc.                                                                   CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       10/01/2023            Signature                                  /s/ John Robinson
                                                                            John Robinson, CEO
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Genesis Chemical                         116 Hoxie, LLC                   360 Security
2708 NW Main ST`                         116 Hoxie St                     4212 Pasada Ln
Ennis, TX 75119                          Coupland, TX 78615-5035          Round Rock, TX 78681-1680




A Customs Brokerage                      Adams Warehouse and              Alexander Palencia
2750 Nw 84th Ave                         Delivery                         8950 Sw 75th St # 1605
Doral, FL 33122-1926                     3701 Yale St                     Miami, FL 33173-3439
                                         Houston, TX 77018-6563



Animix, LLC                              APC, LLC                         Apollo Bank
172 Cross St                             Po Box 310510                    1150 S Miami Ave
Juneau, WI 53039-1246                    Des Moines, IA 50331-0510        Miami, FL 33130-4111




Aqua Water Supply Corp.                  AT&T Voices Over IP              Banesco USA
Po Box P                                 Po Box 5019                      150 Alhambra Cir Ste 100
Bastrop, TX 78602-1989                   Carol Stream, IL 60197-5019      Coral Gables, FL 33134-4523




Barentz                                  BASF Corporation                 Bastrop County
Po Box 77096                             Po Box 121151                    Po Box 579
Cleveland, OH 44194-0015                 Dallas, TX 75312-1151            Bastrop, TX 78602-0579




Bastrop Scale Co. Inc.                   Becker                           Bentoli AgriNutrition India
Po Box 2100                              2525 Ponce de Leon Blvd., #825   Pvt., Ltd.
Bastrop, TX 78602-9100                   Coral Gables, FL 33134           No: 3F2, 3rd Floor, Front Block, Metro Twr
                                                                          #115 Poonamallee High Road
                                                                          Chennai 600084


Bentoli Agrinutrition Thailand           Berg Compliance Solutions        Berger Singerman LLP
Co. Ltd.                                 LLC                              201 E Las Olas Blvd Ste 1500
333/52-53 Soi Project TIP 8 Moo6, Lieb   11615 Angus Rd Ste 230           Ft Lauderdale, FL 33301-4439
Klong                                    Austin, TX 78759-4007
Suvarnabhumi Road, Bangpla, Bangplee,
Samutprakarn 10540 Thailand


Best Cob                                 Bluebonnet Electric              BMEX ANIMAL NUTRITION S
Po Box 150                               Cooperative, Inc.                DE RL DE CV
Rock Falls, IL 61071-0150                Po Box 240                       PROLONGACION VASCO DE QUIROGA
                                         Giddings, TX 78942-0240          4309 C201
                                                                          SANTA FE CUAJIMALPA, CUAJIMALPADE
                                                                          MORELO
                                                                          CIUDAD DE MEXICO, MX


Brenntag Southwest                       Brian Engle                      Build Pro Mechanical LLC
Po Box 970230                            4004 Belt Line Road 100          18300 Basket Flower Bend
Dallas, TX 75397-0230                    Addison, TX 75001                elgin, TX




Bulk Matrix                              Burls Plumbing LLC               Caribbean Petrochemical Mnfc
1755 Arlington Ave                       300 N Kings Canyon Dr            Ltd
Columbus, OH 43212-1921                  Cedar Park, TX 78613-2346        MG5J+W58, Arneaud Ave,
                                                                          San Juan, Trinidad and Tobago
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Cedar Park Overhead Doors         Charlie Sanchez Ins Agency        Chase Auto Finance
1408 N Bell Blvd                  LLC                               Po Box 901076
Cedar Park, TX 78613-7080         1970 Rawhide Dr Apt 210           Fort Worth, TX 76101-2076
                                  Round Rock, TX 78681-6958



Chem Quest, Inc.                  Cintas Corporation                Cintas First Aid & Safety
Po Box 4458 Dept 207              Po Box 650838                     Po Box 631025
Houston, TX 77210-4458            Dallas, TX 75265-0838             Cincinnati, OH 45263-1025




CMA CGM (America) LLC             Coface North America              Comfort System USA-
5701 Lake Wright Dr               Insurance Co.                     Mtech-Icon
Norfolk, VA 23502-1868            Po Box 70280                      1720 Royston Ln
                                  Philadelphia, PA 19176-0280       Round Rock, TX 78664-9555



Commonwealth                      Consolidated Label Co.            Craig Caudill Enterprises
Massachussets                     2001 E Lake Mary Blvd             127 Village Park Dr
Po Box 7089                       Sanford, FL 32773-7140            Georgetown, TX 78633-4461
Boston, MA 02241-7001



Delux Business                    Divendi Americas Inc.             Double S Liquid Feed
801 Marquette Ave                 8950 Sw 74th Ct Ste 1605          726 N Bowman Ave
Minneapolis, MN 55402-2807        Miami, FL 33156-3175              Danville, IL 61832-4030




ECHO Global Logistics Inc.        EDR Property Maintenance          Edward Steve
22168 Network place               LLC                               39/536 Sunshine
Chicago, IL 60673                 127 Emory Fields Dr               Soi Nichada Thani, Samakee Road
                                  Hutto, TX 78634-5544              Pakkret District, Nonthaburi,
                                                                    Thailand11120


EP America Inc                    Fairview Mills                    FDOT
1011 E Touhy Ave Ste 135          604 Nemaha St                     Po Box 31241
Des Plaines, IL 60018-5821        Seneca, KS 66538-1735             Tampa, FL 33631-3241




Federal Express                   FedEx Freight                     Fingerprint Ideas
Po Box 660481                     Po Box 10306 Dept Ch              201 Taylor St
Dallas, TX 75266-0481             Palatine, IL 60055-0001           Hutto, TX 78634-4412




Fishbowl Inventory                Fleischmann's AB Mauri            Foodmaster Logistics LLC
508 Technology Ave Bldg C         4240 Duncan Ave Ste 150           7202 Beneva Rd
Orem, UT 84097-6210               Saint Louis, MO 63110-1123        Sarasota, FL 34238-2806




Frank A. Maresma                  Frank A. Maresma                  GCCISD TAX SERVICES
6750 Sw 73rd Ct                   6750 Sw 73rd Ct # 1605            Po Box 2805
Miami, FL 33143-2923              Miami, FL 33143-2923              Baytown, TX 77522-2805
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Geico Insurance Company               Gepax Group LLC.               GlobalTranz
Po Box 509105                         2646 30th St Apt 1f            Po Box 203285
San Diego, CA 92150-9105              Astoria, NY 11102-2066         Dallas, TX 75320-3285




Halliburton                           Harland Business Solutions     Harney Partners
Po Box 301341                         15955 La Cantera Pkwy          8911 N Capital of Texas Hwy Ste 2120
Dallas, TX 75303-1341                 San Antonio, TX 78256-2589     Austin, TX 78759-7200




Hawkins, Inc.                         Holland & Knight LLP           Hydraulic House Inc
Po Box 860263                         98 San Jacinto Blvd Ste 1900   6300a Burleson Rd
Minneapolis, MN 55486-0263            Austin, TX 78701-4238          Austin, TX 78744-1411




ICC Ind. Com. Exp. Imp. Ltda          Inpak Systems, Inc.            Integraws SA de C.V
3500 PNC Tower 101 South 5th Street   Po Box 8663                    PROL CALZADA N Ext 110 Col LA
Louisville, KY 40202                  Madison, WI 53708-8663         MARTINICA
                                                                     Leon, Guanajuato, MEX37500



INTERNAL REVENUE SERVICE              John C. Robinson               Kell C Mercer PC
Special Procedures - Insolvency       301 West Ave Unit 4603         901 S MoPac Expy Bld 1 Ste 300
P.O. BOX 21126                        Austin, TX 78701-4761          Austin, TX
PHILADELPHIA, PA 19114



King of Freight                       Liminality Ventures, LLC       LoneStar Forklift
Po Box 49170                          301 West Ave, Unit 4603        Po Box 561075
Wichita, KS 67201-9170                Austin, TX 78601               Denver, CO 80256-1075




MADFRABIA INTERNATIONAL               Mighty Fortress Electric       MS Pallet Company
CORP                                  2111 Whistling Way             1713 Hydro Dr
8085 Nw 68th St                       Taylor, TX 76574-1375          Austin, TX 78728-7726
Miami, FL 33166-2794



MTS Logistics                         Office Depot                   Office of the Texas State
5 W 37th St Rm 300                    Po Box 88040                   Chemist
New York, NY 10018-5352               Chicago, IL 60680-1040         Po Box 3160
                                                                     College Sta, TX 77841-3160



OSPREY Biotechnics                    Pay Cargo, LLC                 Phibro Animal Health Corp
Po Box 502391                         201 Alhambra Cir Ste 711       229 Radio Rd
Saint Louis, MO 63150-2391            Coral Gables, FL 33134-5108    Quincy, IL 62305-7534




Potts Blacklock Senterfitt            Progressive Express Ins        Quality Fire Protection
4800 Bee Caves Rd Ste 100             Company                        Po Box 354
W Lake Hills, TX 78746-5215           6300 Wilson Mills Rd           Eddy, TX 76524-0354
                                      Mayfield Vlg, OH 44143-2109
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Quickbase                        Quill Corporation                  Repacorp
290 Congress St                  Po Box 37600                       Po Box 933485
Boston, MA 02210-1033            Philadelphia, PA 19101-0600        Cleveland, OH 44193-0040




Rinnovo Management               William Robinson, Sr               Royalty Eximport,Inc
Po Box 670                       Calle Don Ramon de la Cruz 71      8422 Nw 70th St
Jensen Beach, FL 34958-0670      Madrid, Spain, NC 28001            Miami, FL 33166-2637




SAIA Motor Freight Line, Inc.    Sana Care                          Scott G Somerstein, CPA, PA
Po Box 730532                    8085 Nw 68th St                    9611 Memorial Rd
Dallas, TX 75373-0532            Miami, FL 33166-2794               Cutler Bay, FL 33157-8741




Scoular                          Seaboard Marine Ltd                SeaCoast Bank
250 Marquette Ave Ste 1050       Po Box 743934                      815 Colorado Ave
Minneapolis, MN 55401-1877       Atlanta, GA 30374-3934             Stuart, FL 34994-3053




Sealand                          Secretary of State                 Shawnee Milling Company
9300 Arrowpoint Blvd             Authentication Unit                Po Box 1567
Charlotte, NC 28273-8136         Po Box 13550                       Shawnee, OK 74802-1567
                                 Austin, TX 78711-3550



Ship Global Logistics            Shipco Transport Inc.              Smith Air Inc.
1605 John St Ste 201a            1235 North Loop W Ste 450          Po Box 60666
Fort Lee, NJ 07024-2584          Houston, TX 77008-4724             Houston, TX 77205-0666




Spectrum Enterprise              Squire Patton Boggs (US)LLP        Suburban Propane
1900 Blue Crest Ln               200 S Biscayne Blvd Ste 4700       Po Box 12124
San Antonio, TX 78247-4315       Miami, FL 33131-2303               Fresno, CA 93776-2124




Sunson Industry Group            Sunson Industry Group Co.,         Swiss pac
155 Quinfeng Road                Ltd.                               1720 Hurd Dr
Yinchuan, China                  155 Quinfeng Road, Jinfeng Dist.   Irving, TX 75038-4324
                                 Yinchuan, China (750002) CHINA



TASC                             TCEQ                               Texas Comptroller of Public
ATTN: Client Invoices            Po Box 13089                       Account
Po Box 88278                     Austin, TX 78711-3089              Attn: Bankruptcy
Milwaukee, WI 53288-8278                                            Po Box 149359
                                                                    Austin, TX 78714-9359


Texas Welding Supply             TForce Freight                     The Bug Master
4705 Commercial Park Dr          1000 Semmes Ave Po Box 1216        1912 Smith Rd
Austin, TX 78724-2634            Richmond, VA 23224-2246            Austin, TX 78721-3547
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The Smeberg Law Firm              TMD Oilfield Industry             T-Mobile
4 Imperial Oaks                   2010 Grandway Dr                  Po Box 742596
San Antonio, TX 78248-1609        Katy, TX 77449-5948               Cincinnati, OH 45274-2596




Transpak, Inc                     Travis County Tax Office          U.S. Department of Labor
Po Box 102762                     Po Box 149328                     -OSHA
Pasadena, CA 91189-0128           Austin, TX 78714-9328             1033 La Posada Dr Ste 375
                                                                    Austin, TX 78752-3832



U.S. Small Business               ULINE                             United food corporation
Administration                    PO BOX 88741                      2 Tower Center Blvd Fl 12
409 3rd St, SW                    Chicago, IL 60680                 E Brunswick, NJ 08816-1100
Washington, DC 20416



United States Treasury            USDA                              Veconinter
Po Box 71052                      Po Box 979039                     7205 Nw 19th St Ste 303
Philadelphia, PA 19176-6052       Saint Louis, MO 63197-9000        Miami, FL 33126-1229




Manuel Sotero Vinagre             Waste Management of Austin        Waste Management of Texas
110340 PO Box                     Po Box 660345                     Po Box 660345
Hialeah , FL 33011                Dallas, TX 75266-0345             Dallas, TX 75266-0345




Wego Chemical Group               Wells Fargo Equipment             William A. Robinson, Jr.
239 Great Neck Rd                 Finance                           168 Ridgewood Dr
Great Neck, NY 11021-3301         Po Box 7777                       Brewster, MA 02631-1044
                                  San Francisco, CA 94120-7777



William A. Robinson, Jr.          William A. Robinson, Sr.          Woods Distribution Solutions
168 Ridgewood Drive               Calle Don Ramon de la Cruz 71     LLC
Brewster, MA 02613-1044           Madrid, Spain 28001               2900 Meacham Blvd
                                                                    Fort Worth, TX 76137-4605



Zoro Tools
Po Box 5233
Janesville, WI 53547-5233
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

          In re:                                §                      Chapter 11
                                                §
          Bentoli, Inc.                         §
                                                §                      Case No. 23-______
                                                §                      SubChapter V
          Debtor                                §

                  GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                             Introduction

           On October 1, 2023 (the “Petition Date”), Bentoli, Inc. (“Bentoli”), debtor and debtor-in-
   possession in the above-captioned chapter 11 case (the “Debtor) filed a voluntary petition for
   relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

           Pursuant to the requirements of Bankruptcy Code Section 521 and Rule 1007 of the
   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtor, with the
   assistance of its advisors, has filed its Schedules of Assets and Liabilities (the “Schedules”) and
   Statements of Financial Affairs (the “Statements”) with the United States Bankruptcy Court
   for the Western District of Texas (the “Bankruptcy Court”).

          John Robinson is Debtor’s CEO and has signed the Schedules and Statements. In
   reviewing and signing the Schedules and Statements, John Robinson has relied upon the
   information in the books and records of the Debtor. John Robinson has not (and could not have)
   personally verified the accuracy of each statement and representation contained in the Schedules
   and Statements, including statements and representations concerning amounts owed to creditors.

          These Global Notes, Methodology and Specific Disclosures Regarding the Debtor’s
   Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
   pertain to, are incorporated by reference in and comprise an integral part of the Debtor’s
   Schedules and Statements. The Global Notes should be referred to and reviewed in connection
   with any review of the Schedules and Statements.
           The Schedules and Statements do not purport to represent financial statements prepared
   in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
   nor are they intended to be fully reconciled with the financial statements of the Debtor.
   Additionally, the Schedules and Statements contain unaudited information that is subject to
   further review and potential adjustment, and reflect the Debtor’s commercially reasonable best
   efforts to report the assets and liabilities of the Debtor.

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           In preparing the Schedules and Statements, the Debtor relied upon financial data derived
   from its books and records that was available at the time of such preparation. Although the
   Debtor has made reasonable efforts to ensure the accuracy and completeness of such financial
   information, inadvertent errors or omissions, as well as the discovery of conflicting, revised or
   subsequent information, may cause a material change to the Schedules and Statements. Thus, the
   Debtor is unable to warrant or represent the Schedules and Statements are without inadvertent
   errors, omissions or inaccuracies. Accordingly, the Debtor reserves all of its rights to amend,
   supplement or otherwise modify the Schedules and Statements as is necessary and appropriate.
   Notwithstanding the foregoing, the Debtor shall not be required to update, amend or
   supplement the Schedules and Statements, but reserve the right to do so.

                             Global Notes and Overview of Methodology

   Reservation of Rights. Nothing contained in the Schedules and Statements shall constitute a
   waiver of the Debtor’s rights or an admission with respect to its chapter 11 case, including,
   without limitation, any issues involving substantive consolidation, equitable subordination,
   offsets or defenses and/or causes of action arising under, inter alia, the provisions of Chapter 5
   of the Bankruptcy Code and any other relevant non-bankruptcy laws.

    Books and Records. John Robinson became the Interim CEO in March 2023, having previously
    served as CEO prior to 2018. From 2018 until 2023, the books and records of Bentoli were under
    the control of outside individuals (Alex Palencia and Frank Maresma). Such individuals altered
    the manner in which Bentoli had historically maintained its books and records. Every effort has
    been made to reflect matters accurately it the Schedules and Statements; however, to the extent
    information is derived from the time period referenced above, Bentoli must reserve all rights
    regarding the accuracy of such information.

   Description of Case. On the Petition Date, the Debtor filed a voluntary petition for relief pursuant
   to Chapter 11 of the Bankruptcy Code. The Debtor is operating its business and managing its
   property as debtor-in-possession pursuant to Bankruptcy Code Sections 1107(a) and 1108.
   No trustee or examiner has been requested in this chapter 11 case, and no committees have been
   appointed or designated.

   Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome and an
   inefficient use of estate assets for the Debtor to obtain current market valuations for all of its
   assets. Accordingly, unless otherwise indicated, the Debtor’s Schedules and Statements reflect
   net book values as of September 29,2023. Market values of these assets may vary, at some
   times materially, from the net book value of such assets. Additionally, because the book values
   of assets such as trademarks may materially differ from their fair market values, they are listed
   as undetermined amounts as of the Petition Date. Furthermore, assets which have fully
   depreciated or were expensed for accounting purposes do not appear in these Schedules and
   Statements as they have no net book value.




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   Personal Property – Leased. In the ordinary course of business, the Debtor may lease furniture,
   fixtures, and office equipment from certain third-party lessors for use in the daily operation
   of its business. Nothing in the Schedules and Statements is or shall be construed as an admission
   regarding any determination as to the legal status of any lease (including whether any lease is a
   true lease or a financing arrangement), and the Debtor reserves all of its rights with respect to
   any such issue.

   Recharacterization. Notwithstanding the Debtor’s commercially reasonable best efforts to
   properly characterize, classify, categorize or designate certain claims, assets, executory
   contracts, unexpired leases and other items reported in the Schedules and Statements, the
   Debtor may nevertheless have improperly characterized, classified, categorized, designated or
   omitted certain items. Accordingly, the Debtor reserves all of its rights to recharacterize,
   reclassify, recategorize, redesignate, add or delete items reported in the Schedules and Statements
   at a later time as is necessary and appropriate, as additional information becomes available.

   Liabilities. The Debtor allocated liabilities between the prepetition and postpetition periods
   based on the information and research conducted in connection with the preparation of the
   Schedules and Statements. As additional information becomes available and further research is
   conducted, the allocation of liabilities between the prepetition and postpetition periods may
   change. Accordingly, the Debtor reserves all of its rights to amend, supplement or otherwise
   modify the Schedules and Statements as is necessary and appropriate as it determines in its sole
   and absolute discretion.

   The liabilities listed on the Schedules do not reflect any analysis of claims pursuant to
   Bankruptcy Code Section 503(b)(9). Accordingly, the Debtor reserves all of its rights to
   dispute or challenge the validity of any asserted claims under Bankruptcy Code
   Section 503(b)(9) or the characterization of the structure of any such transaction or any document
   or instrument related to any creditor’s claim.

   Insiders. For purposes of the Schedules and Statements, the Debtor defines “insiders” pursuant
   to section 101(31) of the Bankruptcy Code to include the following: (a) directors; (b) officers;
   (c) shareholders holding in excess of 5% of the voting shares of the Debtor (whether directly
   or indirectly); (d) relatives of directors, officers or shareholders of the Debtor (to the extent known
   by the Debtor); (e) persons in control; and (f) Debtor/non-Debtor affiliates.

   Persons listed as “insiders” have been included for informational purposes only. The Debtor does
   not take any position with respect to: (a) such person’s influence over the control of the Debtor;
   (b) the management responsibilities or functions of such individual; (c) the decision-making or
   corporate authority of such individual; or (d) whether such individual could successfully argue
   that he or she is not an “insider” under applicable law, including the federal securities laws, or
   with respect to any theories of liability or for any other purpose.




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   Intellectual Property Rights. Exclusion of certain intellectual property shall not be construed
   as an admission that such intellectual property rights have been abandoned, terminated, assigned,
   expired by their terms or otherwise transferred pursuant to a sale, acquisition or other transaction.
   Conversely, inclusion of certain intellectual property shall not be construed to be an admission
   that such intellectual property rights have not been abandoned, terminated, assigned, expired by
   their terms or otherwise transferred pursuant to a sale, acquisition or other transaction.

   Classifications. Listing a claim on (a) Schedule D as “secured,” (b) Schedule E/F as “priority,”
   (c) Schedule E/F as “unsecured” or (d) listing a contract or lease on Schedule G as “executory”
   or “unexpired,” does not constitute an admission by the Debtor of the legal rights of the claimant
   or a waiver of the Debtor’s rights to recharacterize or reclassify such claims or contracts or leases
   or to setoff of such claims.

   Claims Description. Schedules D and E/F permit the Debtor to designate a claim as “disputed,”
   “contingent” and/or “unliquidated.” Any failure to designate a claim on the Debtor’s Schedules
   as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor
   that such amount is not “disputed,” “contingent” or “unliquidated,” or that such claim is not
   subject to objection. The Debtor reserves all of its rights to dispute, or assert offsets or defenses
   to, any claim reflected on its Schedules and Statements on any grounds, including liability or
   classification. Additionally, the Debtor expressly reserves all of its rights to subsequently
   designate such claims as “disputed,” “contingent” or “unliquidated.” Moreover, listing a claim
   does not constitute an admission of liability by the Debtor.

   Causes of Action. Despite reasonable efforts, the Debtor may not have identified and/or set
   forth all of its (filed or potential) causes of action against third parties as assets in its
   Schedules and Statements. The Debtor reserves all of its rights with respect to any causes of
   action against third parties and nothing in the Global Notes or the Schedules and Statements shall
   be deemed a waiver of any such causes of action which are expressly reserved.

   Summary of Significant Reporting Policies. The following is a summary of significant reporting
   policies:

          a.      Undetermined Amounts. The description of an amount as “unknown,” “TBD”
                  or “undetermined” is not intended to reflect upon the materiality of such amount.

          b.      Totals. All totals that are included in the Schedules and Statements represent
                  totals of all known amounts. To the extent there are unknown or undetermined
                  amounts, the actual total may be different than the listed total.

          c.      Liens. Property, inventory and equipment listed in the Schedules may be
                  presented without consideration of any liens that may attach (or have attached)
                  to such property and equipment.

          d.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.


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   Global Notes Control. In the event that the Schedules and Statements differ from the foregoing
   Global Notes, the Global Notes shall control.

                     Specific Disclosures with Respect to the Debtor’s Schedules

   Schedule A/B. The Debtor may have listed certain assets as real property when such assets are
   in fact personal property, or the Debtor may have listed certain assets as personal property when
   such assets are in fact real property. The Debtor reserves all of its rights to recategorize and/or
   recharacterize such asset holdings to the extent the Debtor determines that such holdings were
   improperly listed.

   Unless indicated otherwise, asset values described in Schedule A/B are representative of values
   reflected on in the Debtor’s records.

   Schedule A/B3. The Debtor’s cash account values for the checking accounts maintained with
   Independent Bank reflect the Debtor’s balance(s) as of September 29, 2023.

   Schedule A/B8. The amount paid as retainer to Smeberg Law Firm PLLC is as of September 29,
   2023.
   The amount paid as retainer to Harney Partners is as of September 29, 2023.

   The amount paid as retainer to BDF Group is as of September 29, 2023.

   Schedule A/B11. The Debtor has disclosed the net book value with respect to accounts receivable
   listed on Schedule A/B11, which represents the amount of the accounts receivable netted by any
   “doubtful accounts.” For purposes of Schedule A/B11, “doubtful accounts” are those accounts that
   the Debtor has identified as unlikely to be paid given the amount of time such accounts have been
   outstanding.

   Schedules A/B39-41 and A/B50. For purposes of Schedules A/B39-41 and A/B50, the value of
   certain assets may be included in a fixed asset group or certain assets with a net book value of zero
   may not be set forth on Schedules A/B39-41 and A/B50.

   Schedule A/B75. In the ordinary course of its business, the Debtor may have accrued, or may
   subsequently accrue, certain rights to causes of action, counterclaims, setoffs, or refunds with
   various parties. Additionally, the Debtor may be a party to pending litigation in which the Debtor
   has asserted, or may assert, causes of action as a plaintiff or counterclaims as a defendant. To
   the extent such rights are known and quantifiable, they are listed on Schedule A / B75; however,
   any such rights which are unknown to the Debtor or not quantifiable as of the Petition Date are
   not listed on Schedule A/B75.

   Schedule E/F, Part 1. The claims listed on Schedule E/F, Part 1 arose or were incurred on various
   dates; a determination of the date upon which each claim arose or was incurred would be unduly
   burdensome and cost prohibitive. Accordingly, not all such dates are included for each claim. All
   claims listed on Schedule E/F, Part 1, however, appear to have arisen or to have been incurred
   before the Petition Date.

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   Schedule E/F, Part 2. The Debtor has used its commercially best reasonable efforts to report all
   general unsecured claims against the Debtor on Schedule E/F, Part 2 based upon the Debtor’s
   existing books and records as of the Petition Date. The claims of individual creditors for, among
   other things, products, goods or services are listed as either the lower of the amounts invoiced by
   such creditor or the amounts entered on the Debtor’s books and records and may not reflect credits
   or allowances due from such creditors to the Debtor. The Debtor reserves all of its rights with
   respect to any such credits and allowances including the right to assert objections and/or setoffs
   with respect to same. Schedule E/F, Part 2 does not include certain deferred charges, deferred
   liabilities, accruals or general reserves. Such amounts are, however, reflected on the Debtor’s
   books and records as required in accordance with GAAP. Such accruals are general estimates of
   liabilities and do not represent specific claims as of the Petition Date. The Debtor has made every
   effort to include as a contingent, unliquidated or disputed the claim of any vendor not included on
   the Debtor’s open accounts payable that is associated with an account that has an accrual or receipt
   not invoiced.

   To the extent they are known, Schedule E/F, Part 2 reflects the prepetition amounts owing to
   counterparties to executory contracts and unexpired leases. Such prepetition amounts, however,
   may be paid in connection with the assumption or the assumption and assignment of an executory
   contract or unexpired lease. Additionally, Schedule E/F, Part 2 does not include potential rejection
   damage claims, if any, of the counterparties to executory contracts and unexpired leases that may
   be rejected.

   Schedule G. Although the Debtor’s existing books, records and financial systems have been
   relied upon to identify and schedule executory contracts and unexpired leases for the Debtor and
   diligent efforts have been made to ensure the accuracy of the Debtor’s Schedule G, inadvertent
   errors, omissions or over-inclusion may have occurred. Certain information, such as the contact
   information of the counterparty, may not be included where such information could not be
   obtained using the Debtor’s reasonable efforts.

   Listing a contract or lease on Schedule G does not constitute an admission that such contract or
   lease is an executory contract or unexpired lease or that such contract or lease was in effect on
   the Petition Date or is valid or enforceable. The Debtor hereby reserves all of its rights to
   dispute the validity, status or enforceability of any contracts, leases or other agreements set forth
   on Schedule G and to amend or supplement Schedule G as necessary. Certain of the contracts
   and leases listed on Schedule G may contain certain renewal options, guarantees of payment,
   indemnifications, options to purchase, rights of first refusal and other miscellaneous rights. Such
   rights, powers, duties and obligations are not set forth separately on Schedule G.

   Certain confidentiality or non-disclosure agreements may not be listed on Schedule G. The
   Debtor reserves all of its rights with respect to such agreements.

   Certain of the contracts and leases listed on Schedule G may consist of several parts, including,
   purchase orders, amendments, restatements, waivers, letters and other documents that may not be
   listed on Schedule G or that may be listed as a single entry. The Debtor expressly reserves its

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   rights to challenge whether such related materials constitute an executory contract or unexpired
   lease, a single contract or lease or multiple, severable or separate contracts or leases.

   The contracts, leases and other agreements listed on Schedule G may have expired or may have
   been modified, amended or supplemented from time to time by various amendments,
   restatements, waivers, estoppel certificates, letters, memoranda and other documents, instruments
   and agreements that may not be listed therein despite the Debtor’s use of reasonable efforts to
   identify such documents.

   The Debtor reserves all of its rights, claims and causes of action with respect to the contracts
   and leases on Schedule G, including the right to dispute or challenge the characterization of the
   structure of any transaction or any document or instrument related to a creditor’s claim.

   In addition, the Debtor may have entered into various other types of agreements in the ordinary
   course of its business, such as subordination, nondisturbance and attornment agreements,
   supplemental agreements, amendments/letter agreements, title agreements and confidentiality
   agreements. Such documents may not be set forth on Schedule G. Further, the Debtor reserves
   all of its rights to alter or amend these Schedules to the extent that additional information
   regarding the Debtor obligor to such executory contracts or unexpired leases becomes available.
   Certain of the executory contracts or unexpired leases may not have been memorialized and could
   be subject to dispute. Executory contracts that are oral in nature have not been included on
   Schedule G.

   Omission of a contract or lease from Schedule G does not constitute an admission that such
   omitted contract or lease is not an executory contract or unexpired lease. The Debtor’s rights
   under the Bankruptcy Code with respect to any such omitted contracts or leases are not impaired
   by the omission.

   The listing of any contract or lease on Schedule G does not constitute an admission by the
   Debtor as to the validity of any such contract or lease or an admission that such contract or lease
   is an executory contract or unexpired lease. The Debtor reserves all of its rights to dispute the
   effectiveness of any such contract or lease listed on Schedule G or to amend Schedule G at any
   time to remove any contract or lease.

   To the extent a contract or lease states that the term is one month or less, the contract or lease may
   be operating on a month-to-month basis that allows one or both parties to terminate upon providing
   30 day notice.

   Schedule H. For purposes of Schedule H, the Debtor may not have identified certain guarantees
   associated with the Debtor’s executory contracts, unexpired leases, secured financings, debt
   instruments and other such agreements. The Debtor reserves all of its rights to amend the
   Schedules to the extent that additional guarantees are identified or such guarantees are discovered
   to have expired or be unenforceable.

   In the ordinary course of its business, the Debtor may be involved in pending or threatened
   litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
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   may assert cross-claims and counterclaims against other parties. Because all such claims are
   contingent, disputed or unliquidated, such claims have not been set forth individually on Schedule
   H. Litigation matters can be found on the Debtor’s Schedule E/F, Part 2 and Statement 4a, as
   applicable.

                    Specific Disclosures with Respect to the Debtor’s Statements

   Statement 1. The amounts listed in Statement 1 reflect the revenue for the fiscal years 2021,
   2022 and the year- t o - d a t e portion of fiscal year 2023 of the Debtor as such amount is
   calculated in the Debtor’s records.
   Statement 4. Payment to Waller Law and Holland & Knight: December 2022, Waller Lansden
   Dortch & Davis, LLP (“Waller”) was retained by William A. Robinson, Sr. (“WAR, Sr.”) to
   represent him as a shareholder of Bentoli, Inc. and as a guarantor of obligations purportedly owing
   to Alex Palencia in connection with a lawsuit filed in Travis County (the “Lawsuit”). In such
   engagement, John C. Robinson (“JCR”) was appointed as an agent for WAR, Sr. As of March 1,
   2023, Holland & Knight, LLP (“H&K”) acquired Waller and the representation of WAR, Sr.
   continued.
   WAR Sr. provided a secured credit facility to Bentoli (as subsequently amended, the “Credit
   Facility”) in the initial amount of $200,000 that was later increased to $250,000. H&K represented
   the interests of WAR, Sr. in connection with the Credit Facility, and Bentoli was represented by
   the law firm of Berger Singerman, LLP (“Berger Singerman”).
   In May 2023, the Initial Engagement was modified, and H&K was additionally retained by Bentoli
   solely for representing Bentoli in connection with the Lawsuit. H&K withdrew from representing
   Bentoli in connection with the Lawsuit on or about September 28, 2023.
   In September 2023, Liminality Ventures, LLC (“Liminality”), an entity owned and controlled by
   John C. Robinson, refinanced the Credit Facility, and the Credit Facility was assigned by WAR,
   Sr. to Liminality (the “Assignment”). H&K represented Liminality in connection with the
   Assignment. The available credit under the Credit Facility was subsequently increased by
   Liminality to $400,000. In connection with the Assignment and the increase in credit capacity,
   H&K represented Liminality and, at all times, Bentoli was represented by Berger Singerman.
   Pursuant to the Credit Facility, Bentoli, among other things, agreed to reimburse WAR, Sr. and
   Liminality for any fees and expenses paid to Waller and/or H&K.
   In some instances, Waller and/or H&K may have been paid directly by WAR, Sr., JCR or
   Liminality. In other instances, Waller and/or H&K may been paid by Bentoli, Inc., from funds
   earmarked by WAR, Sr., JCR or Liminality for the purpose of paying Waller and/or H&K. In all
   instances, the amounts received by Waller and/or H&K were considered advances under the Credit
   Facility.
   Payments to Nassim Hill Properties LP (“Nassim”): Nassim is an entity that is owned or controlled
   by John C. Robinson. Nassim owned the property in Elgin, Texas that was previously leased to
   Bentoli and served as its headquarters. When Bentoli vacated the premises in 2022, it abandoned
   any and all equipment and inventory that were left on the premises.
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   Statement 7. Information provided in Statement 7 includes only those legal disputes and
   administrative proceedings that are formally recognized by an administrative, judicial or other
   adjudicative forum. In the Debtor’s attempt to provide full disclosure, to the extent a legal
   dispute or administrative proceeding is not formally recognized by an administrative, judicial or
   other adjudicative forum due to certain procedural conditions that counterparties have yet to
   satisfy, the Debtor has identified such matters on Schedule E/F, Part 2 for the Debtor.
   Additionally, any information contained in Statement 7 shall not be a binding representation of
   the Debtor’s liabilities with respect to any of the suits and proceedings identified therein.

   Statement 10. The Debtor may occasionally incur losses for a variety of reasons, including theft
   and property damage. The Debtor, however, may not have records of all such losses as to the
   extent such losses do not have a material impact on the Debtor’s business or are not reported
   for insurance purposes.

   Statement 13.

   In 2022, under the leadership of Maresma, the Debtor dismantled the production capabilities within
   its Elgin facility, selling off process equipment and subsequently abandoning all remaining
   equipment and improvements. The Debtor then relocated to a storefront retail office with a small
   storage warehouse in Coupland, Texas.

   A variety of equipment, including storage siloes, reactors, spray driers, powder shifters, office
   furniture, chillers, refrigeration equipment and furnaces, was sold and/or abandoned by the Debtor
   over this period. The Debtor’s former landlord, Nassim Hill Properties, LP, paid approximately
   $50,000 to have the abandoned equipment scrapped, abandoned chemicals safely disposed of, and
   the facility cleaned for future tenants.
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